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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    District ofDistrict
                                                 __________     South ofCarolina
                                                                          __________

                  United States of America                        )
                             v.                                   )
        Daniel Brendan Kurt CLARKE-POUNDER
                                                                  )      Case No.
                                                                  )                 2:25-mj-11
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    March 7, 2025              in the county of              Charleston       in the
                       District of         South Carolina     , the defendant(s) violated:

            Code Section                                                    Offense Description
Title 18 U.S.C. Section 844 (i)                 Arson of Property in Interstate Commerce.




         This criminal complaint is based on these facts:
See Attached.




         ✔ Continued on the attached sheet.
         u

                                                                           JORDAN GRIFFIN Digitally signed by JORDAN GRIFFIN
                                                                                          Date: 2025.03.14 11:53:04 -04'00'

                                                                                             Complainant’s signature

                                                                                    Jordan Griffin, ATF-Special Agent
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             03/14/2025
                                                                                                JJudge’s
                                                                                                 Ju
                                                                                                  udg
                                                                                                   dge’’s signature

City and state:                          Charleston, SC                    Mary Gordon Baker, United States Magistrate Judge
                                                                                              Printed name and title
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 UNITED STATES OF AMERICA                                     Criminal No.:____________
                                                                            PM

        v.

 Daniel Brendan Kurt Clarke-Pounder,

                        Defendant.


                  AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR
                             A CRIMINAL COMPLAINT

       I, Jordan T. Griffin, a Special Agent (“SA”) with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (“ATF”) being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code; that is, an officer of the United States

who is empowered by law to conduct investigations of and to make arrests for offenses enumerated

in Title 18, Title 21, and Title 26, United States Code.

       2.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”) and have been since November 05, 2023. I have graduated from the Criminal

Investigator Training Program and the ATF Special Agent Basic Training program. As an ATF

Special Agent, I have received specialized training and have participated in various types of

investigative activity including, but not limited to, the following: (a) physical and technical

surveillance; (b) the debriefing of defendants, witnesses, informants and other individuals who

have knowledge concerning violations of federal firearms laws; (c) undercover operations; (d) the

execution of search warrants; (e) the consensual monitoring and recording of conversations; (f)

court authorized interception of both wire and electronic communications (i.e., Title III wiretaps);

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and (g) the handling and maintenance of evidence. Prior to my tenure as a Special Agent, I received

a bachelor’s degree in criminal justice and criminology from Metropolitan State University in

Denver, Colorado. I was then employed by the Arvada Police Department in Arvada, Colorado for

seven (7) years where I worked as a patrol officer. While at Arvada Police Department, I conducted

numerous investigations on a variety of different types of cases. I was also a part of the Special

Weapons and Tactics Team (“SWAT”) for approximately three (3) years. I am currently assigned

to the ATF Charleston Field Office and am vested with the authority to investigate violations of

federal law, to include violations of Title 18, Title 21, and Title 26 of the United States Code.

        3.     The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, officers, and witnesses. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and does

not set forth all my knowledge about this matter.

        4.     Since this Affidavit is submitted for the sole purpose of establishing probable cause

to support the issuance of a complaint and arrest warrant, I have not included each and every fact

known by the government concerning criminal activities committed by the defendant. I have set

forth only those facts that I believe are necessary to establish probable cause to believe that Daniel

Brendan Kurt CLARKE-POUNDER (hereinafter, “CLARKE-POUNDER”) violated Title 18

U.S.C. § 844(i) (Arson of Property in Interstate Commerce).

       INVESTIGATION BACKGROUND AND SUMMARY OF PROBABLE CAUSE

I.      THE ARSON

        5.     On March 7, 2025, at approximately 7:16 P.M., North Charleston Police

Department (“NCPD”) and North Charleston Fire Department (“NCFD”) responded to the Mellow

Mushroom restaurant located at 4855 Tanger Outlet Blvd, North Charleston, within the State and



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Judicial District of South Carolina, for a report of a suspected arson. Witnesses were located on

scene and advised that a male used red spray paint to write “Fuck Trump” and “Long Live

Ukraine” in a Tesla charging station parking spot. The male then began doing something with beer

bottles. The male then began to light the bottles on fire and throw them at the Tesla charging

stations. The male then fled on foot towards the Zaxby’s restaurant, which is located at 4845

Tanger Outlet Blvd, North Charleston, SC 29418. The witnesses described the suspect as a white

male, wearing a grey jacket or hooded sweatshirt, and a black facemask.

       6.      On March 8, 2025, I and ATF Certified Fire Investigator (“CFI”) SA Black

responded to the incident location for further investigation. SA Black collected evidence from the

scene to include; a partially charred piece of fabric (a suspected wick) and shards of glass bottles

(brand name Holland 1839). SA Black advised that the items collected as evidence were consistent

with components of a homemade incendiary and/or destructive device (a/k/a “Molotov cocktail”)

as illustrated by the following photographs: 1.




1
 From training and experience as an ATF SA, I know that a “Molotov Cocktail” is considered a
destructive device and is therefore a firearm regulated under the National Firearms Act (“NFA”)
of 1934. Furthermore, I know that destructive devices classified under the NFA, must be property
registered with ATF in the National Firearms Registration and Transfer Record (“NFRTR”).
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       7.      I reviewed surveillance video of the incident from Zaxby’s. In the footage, I

observed a white male wearing a grey sweater, black facemask, black shorts, and black shoes

walking southeast from the east side of Zaxby’s. The male walked to an electrical box located on

the southeast corner of the parking lot. He then walked west though the parking lot to the Tesla

charging stations. It appeared the male looked at the Tesla charging stations, then walked back to

the corner of the parking lot, where he stopped and waited. During that time, he bent down and

was hidden from camera view for a few moments. When he reappeared on camera, he next walked

over to a Tesla charging station parking spot and bent down in the same area that the spray-painted

words were located. The male was again hidden from the camera’s view due to a vehicle blocking

the camera angle. However, he then stood up and walked to the other side of the Tesla charging



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station. As he was standing there, the footage shows something lighting on fire in front of him. He

then made a throwing motion, and the flames follow his arm backwards and forwards. I then

observed flames on the ground where the male was standing:




       8.      As I continued to review the footage, I then observed five (5) more throwing

motions with flames appearing at the end of each motion. When the fire started to spread, several

of the electric vehicles parked at the charging station fled. The footage then shows the male running

back towards Zaxby’s where he can be observed wearing blue gloves and holding a green item in

his right hand. He then ran northwest on the east side of Zaxby’s where he disappeared from the

camera view.

       9.      As part of ATF’s investigation following the incident, I documented that the male’s

actions had caused several of the Tesla charging stations to catch fire:




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       10.     I next reviewed a NCPD surveillance video, which showed the male running

northwest across Tanger Outlet Blvd towards the Tanger Outlet mall. In this footage, the male no

longer had the green item in his hands that was previously observed on the Zaxby’s surveillance

footage. It should be noted that the green item, was later located and recovered as evidence next

to trees on the north side of Zaxby’s. The green item, a picture of which is provided above, was

identified as a cardboard bottle carrier, with the brand name of Holland 1839. This was consistent

with the brand on the shards of glass bottles located on scene at the Tesla charging station. A

picture of these shards is provided above. Further review of the NCPD footage showed the male

getting into an older model white van and exiting the Tanger Outlet mall and heading south on

Tanger Outlet Blvd.




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       11.    I contacted the Tanger Mall security consultants, who advised they had access to a

License Plate Reader (“LPR”) camera in the immediate vicinity of the incident location. Upon

review of the LPR camera footage, I observed the subject’s vehicle, which is described as a white

van, and the location of the van was parked. The LPR camera was utilized and identified a white

2006 Chrysler Town and Country van bearing South Carolina license plate 331ANL (hereinafter,

the “Chrysler”):




       12.    I conducted a query of the South Carolina Department of Motor Vehicles

(“SCDMV”) and discovered that the Chrysler was registered to CLARKE-POUNDER



       13.    I then conducted a query of the SCDMV and obtained a driver record report for

CLARKE-POUNDER with the same registered address.




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         14.     I then reviewed NCPD surveillance video prior to and after the incident which

showed the following on March 7, 2025 2:

                   x   5:51 pm – The Chrysler pulls into the Tanger parking lot and parks.

                   x   5:59 pm – A white male subject is seen leaning inside of the door of the
                       Chrysler. He then stands up and brings his arm down toward the ground. He
                       leaves his arm pointing towards the ground for multiple seconds.

                   x   6:10 – The white male subject is then seen leaving the Chrysler and walking
                       back towards the Tanger Outlet Mall.

                   x   6:50 pm – The white male subject is seen approaching Tanger Outlet Blvd
                       from the van in the parking lot carrying an object, which is consistent to the
                       way a person would carry a six pack of bottles. The white male subject is also
                       observed wearing blue gloves:




                   x   7:14 pm – The white male subject is then seen running across Tanger Outlet
                       Blvd into the Tanger Outlet mall parking lot. The white male subject is still
                       wearing blue gloves:




2
    All times referenced are to be considered approximate.
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                x   7:15 pm – The Chrysler then exits the Tanger Outlet Mall parking lot
                    traveling onto Tanger Outlet Blvd.

       15.    After observing the white male subject on the surveillance video walking towards

the Tanger Outlet Mall, I contacted Tanger Outlet Mall security consultants, who were able to

obtain a photograph of the male without a mask on from their surveillance cameras: 3




3
 The male went in and out of the Crysler multiple times, during which he changed into a
different sweatshirt prior to the incident.
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II.      LOCATING AND IDENTIFYING CLARKE-POUNDER

         16.   I utilized open-source social media posts as well as other sources to obtained

photographs of CLARKE-POUNDER. I was able to determine the white male subject in the

surveillance obtained by Tanger Mall security consultants was similar in features and

characteristics to the other photographs obtained of CLARKE-POUNDER.

         17.   I obtained a phone number for CLARKE-POUNDER, which was                             .

I found that this phone number was currently registered to the cellular provider of Verizon

Wireless.

         18.   I also conducted an open-source query of a mobile payment application for the

above listed number associated with CLARKE-POUNDER. I learned that there was an account

associated with that phone number with a username of “Daniel Clarke-Pounder.” Based on this

discovery, I then conducted an open-source query of another mobile payment application for the

name “Daniel Clarke-Pounder” and located an account associated with that exact name. I reviewed

the payments listed in the account, which were publicly available, and identified several payments

referencing CLARKE-POUNDER’s rent. Based on my review of these payments, I was able to

identify CLARKE-POUNDER’s suspected residence as

                      (hereinafter, the “Apartment”). To confirm this address, I also conducted an

open-source query of CLARKE-POUNDER’s Instagram. There, I located a photograph of

CLARKE-POUNDER with the caption “Haven’t posted in 3 years whoops. Well I’m a mechanic

now, I live on James island with two of the best roommates and I’m enjoying life see yall in another

5 years”.


III.     SURVEILLANCE OF THE APARTMENT AND DISCOVERY OF THE CHRYSLER

         19.   On the morning of March 13, 2025, at approximately 6:00 A.M., ATF SAs


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conducted surveillance on the Apartment. There SAs discovered the Chrysler parked in the space

in front of Apartment        : During their surveillance, SAs observed CLARKE-POUNDER

exiting the building where the Apartment is located and observed him walking towards and later

driving the Chrysler.




,9    THE SEARCH OF THE CHRYSLER AND APARTMENT

            Based on both the ATF’s investigation and the SAs surveillance, I SXUVXHG

federal search warrants for both CLARKE-POUNDER’s residence and vehicle DQG I

applied for WKHwarrants on the afternoon of March 13, 2025. These warrants were issued by the

Court and executed at approximately 6:20 pm.

       21.    After the search warrants were issued by the Court, SAs who were maintaining

visual surveillance on CLARKE-POUNDER and the Chrysler, followed him from

                to the Apartment. CLARKE-POUNDER reversed into a parking spot in front of

the Apartment, where SAs detained him and executed the search of the vehicle.

       22.    During the search of the Chrysler, SAs located approximately four (4) white strips

of torn cloth in the rear cargo area. These strips of cloth are consistent with NCPD surveillance

footage of the male carrying beer bottles with white clothing protruding from the bottles.


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       23.      SA’s located a green sweatshirt with a red logo on it on the rear driver floorboard.

This sweatshirt is consistent with the sweatshirt the male was wearing from Tanger Outlet Mall

surveillance video.




       24.     Between the front passenger floorboard, SA’s located a box of blue disposable

gloves. The gloves are consistent with the blue gloves the male was wearing in the NCPD

surveillance video.




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       25.    On the passenger seat was a sticker that said, “Gasoline & Fire Never Mix”. These

stickers are commonly located on gasoline cans. From my training and experience, gasoline is

commonly used when manufacturing an incendiary device due to it being highly flammable.




       26.    In the rear cargo area, SA’s located a brown pair of size 13 boots (photograph on

the left). CLARKE-POUNDER was also wearing a similar pair of black boots, which were




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collected (photograph on the right). Due to the rivets on the boots, they are consistent with the

boots the male was wearing on the NCPD surveillance video.




       27.     On the passenger floorboard, SA’s located a receipt from Aldi. The receipt showed

only one (1) item was purchased, which was Holland Lager 1839. This brand of beer was the same

brand as the shards of beer bottles collected at the incident location by SA Black.




       28.     SAs then executed the search warrant on the residence. SAs searched the bedroom

of CLARKE-POUNDER, which was identified by one of his roommate and multiple items



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establishing CLARKE-POUNDER occupied it. Within the bedroom, SAs located a purple

composition notebook on a desk next to the bed. The notebook contained a three (3) page

handwritten statement, which asserted anti-government believes and statements opposed to the

Department of Government Efficiency (“DOGE”). 4 The statement made mention of sending a

message based on these beliefs and was signed with the initials “DC.” It should be noted, SAs also

located a handwritten note inside of CLARKE-POUNDER’s wallet which was on his person.

That handwritten note asserted similar beliefs to the statement located in the composition

notebook.

       29.     CLARKE-POUNDER was arrested and then transported to Al Cannon Detention

Center where he was booked for charge(s) related to this investigation.

                                         CONCLUSION

       30.     Based on the foregoing facts and circumstances, I assert that there is probable cause

to believe that Daniel Brendan Kurt CLARKE-POUNDER has violated 18 U.S.C. § 844(i) in that

he committed the arson of several Tesla charging stations, which are property in interstate

commerce.

       31.     Accordingly, I respectfully request that this Court issue a Criminal Complaint and

Arrest Warrant for Daniel Brendan Kurt CLARKE-POUNDER.

       32.     I affirm under penalty of perjury that the foregoing affidavit is true and accurate to

the best of his knowledge.


       Assistant United States Attorney Cole Shannon has reviewed this affidavit.



4
  DOGE is an initiative of the President to promote government productivity and efficiency. One
of the key individuals associated with DOGE is the President’s Senior Advisor Elon Musk, who
is also the chief executive officer of Tesla, Inc., the manufacture of the charging stations involved
in this incident.
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                                          JORDAN Digitally         signed by
                                                          JORDAN GRIFFIN
                                                          Date: 2025.03.14
                                          GRIFFIN
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                                                          12:38:33 -04'00'
                                          Jordan Griffin, Special Agent
                                          Bureau of Alcohol, Tobacco, Firearms and
                                          Explosives

SWORN TO ME VIA TELEPHONE OR
OTHER RELIABLE ELECTRONIC MEANS
AND SIGNED BY ME PURSUANT TO
FED. R. CRIM. P. 4.1 AND 4(d) OR 41(d)(3),
AS APPLICABLE.

This WKGay of 0DUFK LQ&KDUOHVWRQ, South
Carolina


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     Honorable     M  ry Gordon Baker
                   Mary
UNITED STATES MAGISTRATE JUDGE




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